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11
12                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
13
                               SOUTHERN DIVISION
14
     ATEN INTERNATIONAL CO.,                  )
15   LTD.,
                                              )   Case No. 2:15-cv-04424-AJG-AJW
16                                            )
           Plaintiff,                         )   ATEN INTERNATIONAL CO.
17                                                LTD.’S OPPOSITION TO
                                              )   DEFENDANTS’ MOTION IN
18                                            )   LIMINE TO EXCLUDE ANY
           vs.                                    CLAIM OR EVIDENCE OF
19                                            )   BREACH OF CONTRACT
     UNICLASS TECHNOLOGY CO.                  )
20   LTD., et al.,                                Hearing Date: June 5, 2017
                                              )   Hearing Time: 10:00 a.m.
21                                            )   Courtroom: 10D
           Defendants.                        )   Hon. Andrew Guilford
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                                              )
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                          ATEN’s Opp’n to Defs’ MIL re Breach of Contract
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 1   I.    INTRODUCTION
 2         Plaintiff ATEN International Co., Ltd. (“ATEN”) opposes Defendants’ motion
 3   in limine to exclude any claim or evidence of breach of contract (Dkt. 373). First,
 4   Defendants’ motion is untimely as they filed their motion after the May 19, 2017
 5   deadline. Second, Defendants’ motion improperly seeks to exclude relevant evidence
 6   that supports ATEN’s willful infringement and reasonable royalty claims.
 7   II.   ARUGUMENT
 8         A.     Defendants’ Motion Should Be Denied Because It Is Untimely
 9         Under the Scheduling Order Specifying Procedures, “[a]ny motion in limine
10   shall be filed and served not later than ten court days before the Final Pretrial
11   Conference . . . .” See Dkt. 165, § 6.1. The Final Pretrial Conference is set for Friday,
12   June 5, 2017. See Dkt. 344 at 2. Memorial Day is a “legal holiday” under the Federal
13   Rules of Civil Procedure, and thus not a “court day” to be counted when setting the
14   above deadline. See Fed. R. Civ. P. 6(a)(6)(A). Therefore, Friday, May 19, 2017, was
15   the deadline for filing motions in limine in this case. Defendants’ timely filing of other
16   motions in limine on May 19, 2017, shows they were conscious of the correct deadline.
17   See Dkt. 368, 369.
18         In contravention of that May 19 deadline, Defendants filed and served this
19   motion in limine on Monday, May 22, 2017. Defendants offered no reason for this
20   untimeliness, nor did they make any attempt either to establish good cause that might
21   otherwise excuse their unwarranted delay or to argue that ATEN would not suffer any
22   prejudice therefrom. Defendants’ attempts to circumvent the deadlines set by this
23   Court and vitiate the Court’s stated goal of “achiev[ing] an orderly resolution of
24   disputed issues” should not be rewarded. See Dkt. 344 at 2. Thus, Defendants’ motion
25   should be denied in its entirety on this ground alone.
26         B.     Defendants’ Motion Should Also Be Denied Because It Seeks to
27                Impermissibly Exclude Relevant Evidence
28         It is unnecessary for the Court to analyze other deficiencies in Defendants’
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 1   motion given their failure to timely file and serve it in accordance with the deadlines
 2   set by the Court. However, out of an abundance of caution, ATEN addresses certain
 3   additional deficiencies in the motion that independently warrant denial.
 4          First, Defendants argue that “statements regarding breach of contract are not
 5   relevant to the issues at trial” under FRE 401. Mem. at 1. But this argument is baseless.
 6   It is undisputed that (i) ATEN and Defendant Uniclass entered into a license agreement
 7   in 2009; (ii) this license agreement covered the asserted ’287 patent; and (iii) Uniclass’
 8   30(b)(6) witness testified that Uniclass failed to make payments under the terms of that
 9   agreement. While there is no breach of contract claim in this case, that ATEN and
10   Uniclass had a license agreement covering an asserted patent which Uniclass breached
11   is relevant at least to ATEN’s willful infringement and reasonable royalty claims.
12          For example, Uniclass’ breach is a factor tending to show that it acted
13   recklessly—“culpability is generally measured against the knowledge of the actor at
14   the time of the challenged conduct.” Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct.
15   1923, 1933 (2016); see also 35 U.S.C. § 284. Uniclass’ breach is also evidence that its
16   conduct was “willful, wanton, malicious, bad-faith, deliberate, consciously wrongful,
17   [or] flagrant.” Halo, 136 S. Ct. at 1932. In addition, the license agreement itself is
18   relevant to ATEN’s damages claim that it is due at least a reasonable royalty equal to
19   the terms of the license. See Georgia-Pacific Corp. v. U.S. Plywood Corp., 318 F.
20   Supp. 1116, 1120 (S.D.N.Y. 1970), mod. and aff’d, 446 F.2d 295 (2d Cir. 1971), cert.
21   denied, 404 U.S. 870 (1971). And if Uniclass’ breach is not explained to the jury, it
22   will be left confused as to why it must determine infringement when a license between
23   the parties exists.
24          Second, Defendants argue that even if relevant, statements regarding breach of
25   the license agreement are inadmissible under FRE 403 because “[s]uch statements by
26   ATEN would be ‘substantially outweighed by a danger of one or more the [sic]
27   following: unfair prejudice, confusing the issues, misleading the jury . . . wasting time .
28   . . .” Mem at 1-2. As an initial matter, the probative value of Uniclass’ breach is not
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 1   “limited,” as Defendants contend, because it allegedly relates only to Uniclass’ notice
 2   of the ’287 patent and is “unnecessary for any infringement . . . analysis.” Id. at 2.
 3   Rather, evidence of Uniclass’ breach is highly relevant at least to ATEN’s willful
 4   infringement and reasonable royalty claims, as noted above.
 5         Further, “Rule 403 only permits a court to exclude relevant evidence when its
 6   probative value is substantially outweighed by possible prejudice, and where that
 7   prejudice would be undue.” Classic Foods Int’l Corp. v. Kettle Foods, Inc., No. SACV
 8   04-725 CJC (Ex), 2006 U.S. Dist. LEXIS 97200, at *24 (C.D. Cal. 2006). Here, in an
 9   apparent effort to argue undue harm, Defendants offer only unsupported speculations
10   that any mention of Uniclass’ breach “can inflame the emotions of the jury and may
11   provoke the jury to attach undue significance to those allegations.” Mem. at 2.
12   Defendants do not contend, however, that such alleged inflamed emotions or
13   provocations are likely to occur, or that a jury instruction on this issue would somehow
14   be insufficient to avoid them. Moreover, the probative value of Uniclass’ breach
15   towards ATEN’s willful infringement and reasonable royalty claims is not
16   “substantially outweighed” by Defendants’ alleged “unfair prejudice, confusing the
17   issues, misleading the jury [or] wasting [of] time.” Thus, evidence of Uniclass’ breach
18   should not be excluded under FRE 403.
19         Third, in support of their motion, Defendants appear to argue that “lay witnesses
20   should not testify as to breach of contract” under FRE 701 and “[n]o expert or
21   evidence has been presented in this case that would permit introducing breach of the
22   License at trial.” Mem. at 2-3. This argument is unavailing. Although lay witness
23   testimony in the form of an opinion cannot be “based on scientific, technical, or other
24   specialized knowledge within the scope of Rule 702,” lay witness opinion testimony is
25   admissible when it is “rationally based on the witness’s perception.” FRE 701. And
26   such admissible lay opinion testimony is already of record here—e.g., Uniclass’
27   President and 30(b)(6) witness has testified that a fully executed, enforceable license
28   agreement existed between ATEN and Uniclass, and that Uniclass failed to make
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 1   payments under the terms of that agreement.
 2            Fourth, Defendants argue that even if relevant, statements regarding Uniclass’
 3   breach of the license agreement are inadmissible under FRE 408. Specifically,
 4   Defendants’ position is that, “[b]ecause the License was executed as part of a
 5   settlement negotiation, it is protected under Rule 408 for the purposes of disclosure as
 6   to lability [sic], and should be excluded for this purpose.” Mem. at 3. But Defendants
 7   offer no precedent supporting this strained theory of exclusion. Nor can they. FRE
 8   408’s scope is limited to “evidence of [valuable consideration in compromising or
 9   attempting to compromise . . . and conduct or a statement made during compromise
10   negotiations] is not admissible . . . either to prove or disprove the validity or amount of
11   a disputed claim or to impeach.” Thus, the admissibility constraints of FRE 408—aptly
12   titled “Compromise Offers and Negotiations”—were never meant to render
13   inadmissible settlement agreements resulting from such offers and negotiations. See
14   FRE 408; Cates v. Morgan Portable Bldg. Corp., 780 F.2d 683, 691 (7th Cir. 1985)
15   (“Obviously a settlement agreement is admissible to prove the parties’ undertakings in
16   the agreement, should it be argued that a party broke the agreement.”). Indeed,
17   expanding FRE 408 in this manner would undermine the rule’s purpose of promoting
18   the compromise and settlement of disputes, because it would provide an avenue for
19   parties that breach the resulting agreement to potentially avoid liability. Such a result is
20   impermissible. Thus, evidence of Uniclass’ breach should not be excluded under FRE
21   408.
22   III.     CONCLUSION
23            ATEN respectfully requests that the Court deny Defendants’ motion because
24   Uniclass’ breach of contract is relevant to ATEN’s willful infringement claim and its
25   probative value outweighs any prejudice that Defendants allege that evidence may
26   cause.
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 1                               CERTIFICATE OF SERVICE
 2         The undersigned certifies that the foregoing ATEN INTERNATIONAL CO.
 3   LTD.’S OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE TO
 4   EXCLUDE ANY CLAIM OR EVIDENCE OF BREACH OF CONTRACT was
 5   filed electronically, and pursuant to Civil L.R. 5-3.2, was served on all interested
 6   parties in this action (i.e., served to registered ECF recipients via ECF electronic
 7   service) on May 26, 2017.
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                                    /s/ Lei Mei
 9                                  Lei Mei
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